Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 1 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 2 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 3 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 4 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 5 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 6 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 7 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 8 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 9 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 10 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 11 of 12
Case 3:16-cv-05961-WHA Document 1 Filed 04/18/08 Page 12 of 12
